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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

CENTRAL DIVISION
IN RE: PROFEMUR HIP IMPLANT ) MDL No. 2949
PRODUCTS LIABILITY LITIGATION ) ALL CASES
ORDER

The Judicial Panel on Multidistrict Litigation has transferred to this Court for centralized
pretrial proceedings actions that concern alleged defects in the Wright Medical and MicroPort
Profemur line of modular hip implants, which were offered in titanium and cobalt chromium alloys
(the “MDL”). MDL co-lead counsel for plaintiffs, counsel for defendant MicroPort Orthopedics Inc.
(“MicroPort”), and counsel for defendant Wright Medical Group, Inc. (“Wright Medical”),
submitted to the Court for consideration the parties’ proposed plan for discovery, discovery schedule,
and corporate disclosure statement for MicroPort with Exhibits A-D. The Court conducted a status
conference with all counsel on May 19, 2021, and discussed the proposed discovery plan, discovery
schedules, fact sheets, and corporate disclosure statement with the parties.

For good cause shown, the Court orders as follows:

(1) The Court adopts plaintiffs’ and Wright Medical defendants’ proposed plan for

discovery and discovery schedule attached hereto as Court’s Exhibit A.
(2) The Court adopts plaintiffs’ and MicroPort’s proposed discovery plan as to MicroPort
attached hereto as Court’s Exhibit B.

(3) The Court adopts “Plaintiff Fact Sheet” attached hereto as Court’s Exhibit C.

(4) The Court adopts “Defendant Fact Sheet” attached hereto as Court’s Exhibit D.

(5) The Court agrees to permit defendant MicroPort to file its corporate disclosure

statement in MDL Master Docket Number 4:20-md-2949 KGB, rather than in each
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individual case filed directly in or transferred to the MDL. In the future, should an
individual case involving MicroPort be transferred back to the district court in which
the case was originally filed for trial, MicroPort must update its corporate disclosure
statement with the trial court.
The Court will confer with counsel in this matter to schedule, and will set by separate order,
the next status conference.

So ordered this 24th day of May, 2021.

Kush 4. Pale
Kristine G. Baker
United States District Court Judge

 
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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

CENTRAL DIVISION
IN RE: PROFEMUR HIP IMPLANT ) MDL No. 2949
PRODUCTS LIABILITY LITIGATION ) ALL CASES

PLAINTIFFS AND WRIGHT DEFENDANTS’ PROPOSED PLAN FOR DISCOVERY
AND DISCOVERY SCHEDULE

In accordance with the Court’s April 6, 2021 Order, MDL Co-Lead Counsel for
Plaintiffs’ and Wright Defendants (together, “the Parties”) have continued to meet and confer on
a plan for discovery in MDL 2949 (the “MDL”).' The Parties are concurrently providing an
update on the status of the proposed reuse of certain prior discovery in the MDL, as well as a
proposed schedule for next steps in planning the conduct of discovery in MDL 2949 as follows:

1. PLAN FOR DISCOVERY
A. Plan for Reuse of Prior Discovery

In order to avoid duplicative discovery as to the Wright Medical Defendants, the Parties
have exchanged detailed proposals for reuse of specific prior documents and document
productions. To facilitate this discussion, the Parties have agreed that Plaintiffs may serve initial
general discovery requests on Wright Defendants, with the intention that an agreement on a reuse
framework would satisfy the general discovery requests.

The Parties have agreed that any documents produced in prior litigation that are by
agreement re-used in this MDL will be re-stamped and produced with MDL Bates stamps for
tracking purposes, and will be subject to the agreed Protective Order in this MDL, Dkt. #

54. Production and reuse of any documents produced in prior litigation identified by the Parties

 

' Tt is anticipated that Plaintiffs and counsel for defendant MicroPort Orthopedics Inc.
(“MicroPort”) will be submitting a separate plan for discovery and proposed schedule, due to
distinctions in the posture of discovery as to MicroPort.

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will be for the purposes of efficiency and reducing costs, in exchange for an anticipated
agreement, to be documented, that Plaintiffs will not conduct additional general written
discovery except as contemplated by Section B below.

Production of prior materials for use in this MDL is not a waiver of the right to challenge
or object to the relevance or admissibility of any such documents in any individual case.

In addition to the above-referenced documents agreed to be reused, the Parties are
currently identifying the universe of prior depositions and meeting and conferring on identifying
those agreed to be reused in this MDL.

B. Plan for Conducting New Discovery of Wright Defendants

Once the agreed upon documents and deposition transcripts are re-produced within the
MDL, Plaintiffs will evaluate whether limited additional written discovery and/or ESI is needed
from the Wright Defendants as to the time period of January 1, 2013 through present. Wright
Defendants disagree that any subsequent discovery after January 1, 2013 will be needed, as they
believe materials included in an agreed production for reuse will satisfy the need for discovery
from January 1, 2013 through December 31, 2013, the Parties will continue to meet and confer
on that issue prior to new discovery being served and will raise any issues with the Court on (1)
the scope of any new discovery and (2) the time period sought, if necessary.

To the extent Plaintiffs proceed with (1) serving new discovery as to the post January 1,
2013 time period, (2) additional general discovery restricted to the January 1, 2013 to present
period, and (3) notices for Fed. R. Civ. P. 30(b)(6) depositions, such new discovery shall be

conducted as follows:
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a. Written discovery will be designated and broken down into categories based on
claim type as follows’: (1) discovery regarding the fracture of a titanium
PROFEMUR® modular neck device (product code PHAO); (2) discovery
regarding the fracture of a cobalt chromium PROFEMUR® modular neck device
(product code PHAC); and (3) discovery regarding an adverse tissue reaction
allegedly caused by corrosion of a cobalt chromium PROFEMUR® modular neck
device (product code PHAC)

b. Any Fed. R. Civ. P. 30(b)(6) deposition notices shall also be proposed
individually to Wright Medical (i.e., and separately to MicroPort), and shall also
be broken down into categories based on claim type as follows: (1) testimony
regarding the titanium PROFEMUR® modular neck device (product code
PHAO); and (2) testimony regarding the cobalt chromium PROFEMUR®
modular neck device (product code PHAC).

IL PROPOSED DISCOVERY SCHEDULE

The discovery described above, as well as any new discovery conducted in this MDL as
to Wright Defendants, is proposed to take place according to the following schedule:

1. Deadline to Serve Responses to Plaintiff Fact Sheet (“PFS”): The later of 90 days
from the Court’s Entry of the PFS, or 90 days from the date the case was filed in or
transferred into the MDL

2. Deadline to Serve Responses to Defendant Fact Sheet (“DFS”): 60 days from Wright
Defendants’ receipt of the PFS

3. June 15, 2021: Plaintiffs to serve First Requests for the Production of Documents and

Things on Wright Medical Technology, Inc. (exclusive of the 2013 time period), with the

 

> These categories are consistent with the Scope of the MDL as defined in CMO 1 { 2, Dkt. #56.
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understanding that agreement on prior documents and document productions for re-use in
this MDL will eliminate the need for responding to these demands

4, July 16,2021: Deadline for parties to reach agreement on the production and use of
prior deposition transcripts

5. July 29, 2021: Wright Medical Technology, Inc.’s Deadline to respond to the First
Requests for Production, if necessary

6. August 13, 2021: Deadline for Plaintiffs to serve a 30(b)(6) deposition notice for any
additional 30(b)(6) depositions

7. August 18, 2021: Parties to meet and confer on need for additional discovery and/or ESI
as to Wright Defendants for post-January 1, 2013 time period

8. September 13, 2021: Parties to submit joint or separate proposals and schedules for

completing any remaining discovery
Respectfully Submitted, this 18th day of May, 2021:

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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

CENTRAL DIVISION
IN RE: PROFEMUR HIP IMPLANT ) MDL No. 2949
PRODUCTS LIABILITY LITIGATION ) ALL CASES

PLAINTIFFS’ AND DEFENDANT MICROPORT ORTHOPEDIC INC.’S PROPOSED
DISCOVERY PLAN AS TO MICROPORT

In accordance with the Court’s April 6, 2021 Order, Plaintiffs and Defendant MicroPort
Orthopedics Inc. submit the following as their proposed discovery plan governing the conduct of
the discovery in MDL 2949 as it relates to MicroPort. This proposed discovery plan is not
intended to restrict the rights of the parties to conduct individual and third-party discovery.
Rather, it is intended to provide an orderly and efficient schedule for the completion of

coordinated discovery between Plaintiffs and MicroPort.

 

Deadline to serve responses to Plaintiff Fact Sheet (PFS) The later of 90 days after
Court enters order approving
PFS, or 90 days from the date
the case was filed in or
transferred into the MDL

 

Deadline to serve responses to Defendant Fact Sheet (DFS) 60 days from receipt of PFS

 

Plaintiffs to serve First Interrogatories and First Requests for the June 9, 2021
Production of Documents and Things on Defendant MicroPort

 

Plaintiffs to submit proposed electronically stored information July 14, 2021
(ESI) search terms to MicroPort

 

Parties to meet and confer about proposed ESI search terms and July 28, 2021
protocol to govern production of documents and ESI

 

MicroPort to respond or otherwise object to Plaintiffs’ First August 6, 2021
Interrogatories and First Requests for the Production of
Documents and Things

 

 

 

 

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Parties to agree on ESI search terms or otherwise submit to the August 13, 2021
Court their relative positions regarding ESI search terms and Joint
(or, if unable to agree, separate) Proposed Order Establishing
Protocol Governing Production of Documents and ESI

 

MicroPort to serve Plaintiffs with a list of ESI custodians

September 3, 2021, or, if the
parties do not agree on search
terms, three weeks after the
Court rules on ESI search
terms

 

MicroPort to produce initial ESI production (to continue on rolling | November 3, 2021, or if the

basis)

parties do not agree on search
terms, ten weeks after the
Court rules on ESI search
terms

 

 

Parties to meet and confer about depositions to be taken (including | November 17, 2021
30(b)(6)s) and a schedule for those depositions

 

 

 

Respectfully Submitted, this 18th day of May, 2021:

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

CENTRAL DIVISION
IN RE: PROFEMUR HIP IMPLANT ) 4:20-md-2949 KGB
PRODUCTS LIABILITY LITIGATION ) ALL CASES
PLAINTIFF FACT SHEET

 

Please provide the following information for each individual on whose behalf a claim is being
made. If you are completing this Plaintiff Fact Sheet in a representative capacity, please respond
to the remaining questions with respect to the person who had the PROFEMUR® cobalt
chromium and/or titanium modular neck (the “Device”) implanted. Whether you are completing
this Plaintiff Fact Sheet for yourself or for someone else, please assume that after Section I,
“You” means the person who had the Device implanted. In filling out this form, “Healthcare
Provider” means any hospital, clinic, center, physician’s office, infirmary, medical or diagnostic
laboratory, or other facility that provides medical care or advice, and any pharmacy, x-ray
department, radiology department, laboratory, physical therapist or physical therapy department,
rehabilitation specialist, or other persons or entities involved in the diagnosis, care, and/or
treatment of you.

In filling out any section or sub-section of this form, please submit additional sheets as necessary
to provide complete information. In addition, if you learn that any of your responses are
incomplete or incorrect at any time, you must supplement your responses to provide that
information as soon as you become aware of this information. This form requests information
and documents about your medical condition for a specified period of time. However,
defendants reserve the right to request additional information and information for a time period
dating further back on a case-by-case basis.

In completing this Plaintiff Fact Sheet, you are under oath and must provide information that is
true and correct to the best of your knowledge, information, and belief. The responses you
provide in response to this Plaintiff Fact Sheet constitute discovery responses subject to the
Federal Rules of Civil Procedure. If the response to any question is that the person completing
this Plaintiff Fact Sheet does not know or does not recall the information requested, that response
should be entered in the appropriate location(s). You may and should consult with your attorney
if you have any questions regarding the completion of this form.

 
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CASE INFORMATION

Name of person completing this form:

Name of person on whose behalf a claim is being made:

 

 

Please state the following for the civil action filed:

a.

Case caption:
Docket Number:
Court in which action was originally filed (or would have been filed absent direct
filing into this MDL if applicable):
Name, address, telephone number, and e-mail address of principal plaintiff
attorney for claim:
Name:
Firm:
Address:
Telephone Number:
Email Address:

 

 

 

 

 

 

 

 

If you are completing this Plaintiff Fact Sheet in a representative capacity (e.g., on behalf
of the estate of a deceased person), please complete the following:

a.

b.

Current address of representative:

 

In what capacity are you representing the individual or estate?
Is a wrongful death claim being asserted?
If you were appointed as a representative by a court, state the:

Court which appointed you:

 

Date of appointment:

 

What is your relationship to the individual or estate you are serving as the
representative for?

 

 

If you represent a decedent’s estate, state:

Date of decedent’s death:

 
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THE REST OF THIS PLAINTIFF FACT SHEET REQUESTS INFORMATION ABOUT
THE PERSON WHO WAS IMPLANTED WITH THE DEVICE, HEREAFTER
REFERRED TO AS “YOU”.

I. CORE INFORMATION
1, Type of PROFEMUR® Modular Neck Prosthesis (cobalt chromium (“CoCr”) or titanium
CTH):
Side of body (circle one): Right Left Both

 

Complete the questions in this section for each implant surgery involving a PROFEMUR®
cobalt chromium or PROFEMUR® titanium modular neck device (hereafter, “Device” or “the
Device”).

2. Theory of defect alleged as to Device (circle one):
(1) PROFEMUR® Titanium Modular Neck Fracture
(2) PROFEMUR® Cobalt Chromium Modular Neck Fracture or
(3) PROFEMUR® Cobalt Chromium Modular Neck Tissue Reaction

3. If product bar code stickers were not available and were not provided with the Initial
Census Form, provide the Reference No. and Lot No. for each Device:

 

 

 

 

 

 

 

 

 

4. Date of Device implantation:

5: Name and address of implanting surgeon(s):

6. Name and address of hospital or clinic where surgery(ies) performed:

7. Date of revision surgery removing the Device:

8. Was the stem component removed during revision surgery? Yes No
10.

11.

12.

13.

14.

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Name and address of surgeon(s) who removed the Device:

 

 

Name and address of hospital or clinic where surgery performed:

 

Name of the manufacturer and product names, product code/lot number of the
replacement component(s), if any:

 

 

 

a. Did you pay for your revision surgery and all related care?
Yes No In Part
b. If No or In Part, state who or who else paid for the revision surgery:

 

Provide the approximate amount paid by each person and entity and identify each
person and insurance carrier. For insurance carriers, provide the name, address,
and policy number.

 

 

 

Was the Device retained after removal? Yes No

a. If Yes, what is the present location of the Device?

 

Have you received any other treatment or testing related to your Device?

Yes No
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If Yes, provide the following details about that treatment or testing:

 

Date

Facility Name

Address and
Telephone Number

Type of Test or
Treatment

Reason for Test!
or Treatment

Results

 

 

 

 

 

 

 

 

 

 

 
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I. PERSONAL INFORMATION

Name (first, middle, last):

 

Maiden or other names used and dates you used those names:

 

Current address and date when you began living at this address:

 

Social Security Number:

 

Date of birth:

 

Current marital status:

 

If married, please provide the following information:

 

Date of marriage:

Name of Spouse:

 

 

Date of birth of spouse:

If married, has your spouse filed a loss of consortium or other claim in this action?

Are you currently employed? Yes No

If yes, provide your position and your current employer’s name, address, and telephone
number:

 

 

If not, did you leave your last job for a medical reason? Yes No

If Yes, describe why you left and identify the date that your left your last job:

 

 
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10. For the period of time from five years before you had the Device implanted until the
present, identify all of your employers, your employment dates, your position there, and
your reason for leaving:

 

 

 

 

 

 

 

 

 

 

Name of Address and Dates of Describe Your Position | Reason for
Employer Telephone | Employment | or Duties and Specify if Leaving
Number Job Required Manual
Labor
11. For the period from five years before the Device was implanted until the present, indicate

if you have regularly exercised:

Yes

No

If Yes, please state:

 

Type of Exercise

Dates/Years
Exercised

Approximate # of hours
you exercised per week

Period of times during
which you performed this
exercise (month/year)

 

 

 

 

 

 

 

 

 

 
12.

13.

14.

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If you have Medicare, provide your HICN number:

 

For the period from five years before the Device was implanted to the present, have you
been on or applied for workers’ compensation, social security, and/or state or federal
disability benefits? Yes No

If Yes, then as to each application, separately state the following and attach any
documents you have which relate to the application and/or award of benefits:

a. Date (or year) of application:

b. Type of benefits:

 

 

c. Nature of claimed injury/disability:

d. Period of disability:

 

 

e€. Amount awarded:

f. Basis of your claim:

g. Was claim denied? Yes

 

 

No

h. To what agency or company did you submit your application?

1. Claim/docket number, if applicable:

 

Have you ever been involved in an accident or event, in which or as a result of which you
experienced any personal injuries to your legs, hips, or pelvic area? Yes No

If Yes, please provide the following information and attach copies of any accident

reports:

 

Place and Date of
Accident

Circumstances,
Nature, Location, and
Extent of Injury

Nature of Activity
at Time of Injury

Names and Addresses of
Treating Physician(s)

 

 

 

 

 

 

 

 

15.

a. Other than this claim, have you ever filed a lawsuit or made a claim against a
healthcare provider or medical device or pharmaceutical company? Yes__
No

 
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b. Other than this claim, have you ever filed a lawsuit or made a claim against
anyone related to any injury to your hip, pelvis, or legs? Yes No_

If Yes to either (a) or (b) above, provide the following information and attach copies of
all pleadings, releases or settlement agreements, and deposition transcripts you have:

 

Party You Court in Which | Case/Claim | Attorney Who | Nature of Claim

Sued/Made Claim | Suit Filed/Claim Number Represented You and Injury

Against Made

 

 

 

 

 

 

 

 

16.

17.

In the past ten years, have you ever been convicted of, or pled guilty to, a felony and/or a
crime of fraud or dishonesty? Yes No

If Yes, state the charge to which you plead guilty or of which you were convicted, the
court where the action was pending, and the case number:

 

 

Have you or your spouse (if he/she is pursuing a loss of consortium claim) received any
money from a third party in exchange for an assignment of any portion of your claim or
recovery in this lawsuit, so that the payer or assignee has decision making authority over
the terms of any settlement or other resolution of your claim or has lien rights (excluding
liens by healthcare providers) against any funds generated by the resolution of your
claim?

Yes No

If Yes, provide the name and address of the third party with whom you have entered into
such a contract.

 

IV. HEALTHCARE PROVIDERS

FOR ALL QUESTIONS IN THIS SECTION, MEN DO NOT HAVE TO PROVIDE
DETAILS AS TO PROSTATE CONDITIONS AND WOMEN DO NOT HAVE TO
PROVIDE INFORMATION AS TO BIRTH CONTROL OR REPRODUCTIVE ISSUES
(UNLESS THERE IS A CLAIM RELATED TO CHILDBEARING, IN WHICH CASE A
FULL OBSTETRICAL AND GYNECOLOGIC HISTORY NEEDS TO BE PROVIDED).

1.

Identify each doctor (including but not limited to family/primary care physicians,
orthopedic surgeons, physical therapists, chiropractors, practitioners of the healing arts)
and Healthcare Provider whom you have seen for medical care and treatment for any
orthopedic condition or complaint about your hips, legs, or pelvis for the period five
years before your first hip surgery to the present.

 
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Name and Specialty

Address and

Telephone Number

Approx. Dates/Years of
Visits

Reason

 

 

 

 

 

 

 

 

 

Identify each doctor and Healthcare Provider whom you have seen for any other reason
not identified in No. 1 above, for the period of two years before your first hip surgery to

present.

 

Name

Address

Admission
Date(s)

Reason Type of
Surgery (if
applicable)

Name of
Surgeon (if
applicable)

 

 

 

 

 

 

 

 

 

 

3.

Identify each facility at which radiographs (x-rays, ultrasounds, MRIs, CT scans) were
taken of your hips, pelvis, or legs in the last ten years.

 

Name

Address and Telephone |Approx. Date Taken

Number

Reason

 

 

 

 

 

 

 

 

10

 

 

 
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4. Identify each laboratory at which your blood was tested for blood levels of any metals
including cobalt and chromium in the last ten years.
Name Address and Approx. Date Reason Results (if known
Telephone Number Taken by you)
5. Identify each pharmacy, drugstore, or any other facility or supplier (including but not

limited to mail order pharmacies) where you received any prescription medication for the
period five years before your revision hip surgery to the present. Please specifically note
which, if any, supplied medicine was for any orthopedic condition or complaint about
your hips, legs, or pelvis.

 

Name of
Pharmacy/Supplier

Address and Telephone Approx. Dates/Years
Number of

You Used

For Pelvis, Leg, or Hip-
Related issue

 

 

 

 

 

 

 

 

 

1. Current height:

V. MEDICAL BACKGROUND

 

2. Please state your weight at the following times:

a. Current:
b. Time of Device implant:

c. Time of revision surgery:

 

3, Smoking History

 

 

a. Have you ever smoked cigarettes? Yes No
State amount smoked: packs per day for years, during the years
to

 

11

 
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5.

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Alcohol Use

a.

For the period of time five years before the Device was implanted to the present,
did you consume alcoholic beverages on a weekly basis? If yes, please provide

the approximate average number of beverages consumed weekly.

 

Allergies and Allergic Reactions

a.

Have you ever experienced an allergic reaction to any food, medication, jewelry,

or metal?

Yes No

If Yes, provide the following information:

 

 

 

 

 

 

 

 

 

 

 

Food, Medication, | When Allergy Symptoms of |Health Care Provider} Treatment
Jewelry, or Metal Diagnosed Allergy Who Diagnosed | Received, if
Allergy any
6. Other Conditions
a. To the best of your knowledge, have you ever experienced or been diagnosed with

any of the following conditions from the time beginning five years before your
first hip surgery to the present? Select Yes or No for each condition. For each
condition for which you answer Yes, please provide the additional information

requested in the table following this chart:

 

Condition Experienced or Diagnosed Yes No

Don’t
Know

 

1. Arthritis (e.g., osteoarthritis, traumatic arthritis, rheumatoid
arthritis, degenerative arthritis)

 

2. Neuromuscular compromise or vascular deficiency

 

3. Poor bone quality (e.g., osteoporosis)

 

4, Charcot’s or Paget’s disease

 

5. Cancer (including blood cancers such as leukemia)

 

6. Allergy, such as hay fever, asthma, eczema, hives, sensitivity
to drugs or other substances, including allergic reactions to metal

 

7. Obesity

 

 

8. Alcohol or drug addiction

 

 

 

 

 

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Condition Experienced or Diagnosed

Yes

No

Don’t
Know

 

9. Any pathological condition of the acetabulum
(e.g., arthrokatadysis)

 

10. Diabetes

 

11. Infections lasting longer than one week or occurring more
frequently than monthly

 

12. Tumors or Pseudo-tumors

 

13. Periarticular calcification or ossification

 

14. Disabilities of joints (knees and ankles)

 

15. Osteolysis

 

16. Congenital dysplasia of the hip or subluxation or dislocation
of the hip joint

 

17. Peripheral neuropathies or nerve damage

 

18. Acetabular perforation

 

19. Femoral shaft perforation, fissure, or fracture

 

20. Trochanteric fracture

 

 

21. ALVAL

 

 

 

 

b. For each condition for which you answered Yes in the previous chart, provide the

information requested below:

 

Condition You Approximate Date Name, Address, and
Experienced of Onset Telephone Number of
Treating Physician (if any)

Treatment
Received

 

 

 

 

 

 

 

 

 

VI. MEDICATIONS

FOR ALL QUESTIONS IN THIS SECTION, MEN DO NOT HAVE TO PROVIDE
DETAILS AS TO PROSTATE CONDITIONS AND WOMEN DO NOT HAVE TO
PROVIDE INFORMATION AS TO BIRTH CONTROL OR REPRODUCTIVE ISSUES
(UNLESS THERE IS A CLAIM RELATED TO CHILDBEARING, IN WHICH CASE A
FULL OBSTETRICAL AND GYNECOLOGIC HISTORY NEEDS TO BE PROVIDED).

1. List all of the medications (prescription and over the counter) you currently take,
specifically indicating which, if any, were for treatment of any orthopedic condition or complaint

about your hips, legs, or pelvis.

13

 

 
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Medication | Dose/ Frequency/Dates Physician Pharmacy Purpose
of Use Ordering Dispensing

 

 

 

 

 

 

 

 

 

 

To the best of your recollection, are there any prescription medications other than those
identified above that you have taken on a regular basis for any duration of more than two
months for the period five years before your revision hip surgery to the present?

Yes No

a. If Yes, identify the medication(s), the prescribing doctor(s), the approximate
dates/years you have taken this medication, and why it was given to you,
specifically indicating which, if any, were for treatment of any orthopedic
condition or complaint about your hips, legs, or pelvis:

 

Medication Dose/ Physician Pharmacy Purpose
Frequency/Dates Ordering Dispensing
of Use

 

 

 

 

 

 

 

 

 

 

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hip?

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VI. DEVICE IMPLANT/REMOVAL

Describe the condition for which the Device was implanted:

 

 

 

a. Is this condition the result of an on-the-job injury? Yes No

If Yes, please state:
Place of employment at the time:

 

Address:

 

Telephone number:

 

Job description/duties at the time:

 

Nature of accident:

 

Before the implantation of the Device, did you receive non-surgical treatment for your

 

Yes No
a. State the period during which you received non-surgical treatment:
b. State the nature of the non-surgical treatment (e.g., rest, physical

therapy, medication, injections):

 

 

c, State the name and address of all doctors or health care providers involved
in your non-surgical treatment:

 

 

 

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Did you see, read, or rely upon any documents or other information from Wright or
MicroPort in making your decision to have the Device implanted? Yes No

a.

If Yes, identify each document/source of information.

 

When did you read the document/receive the information?

 

How did you obtain the document or information?

 

Do you have the document or written information in your possession? If
so, please produce a copy of it together with your answers to the Plaintiff
Fact Sheet. Yes No I don’t know

If you no longer have the document or written information in your
possession, describe the information that you received to the best of your
ability:

 

 

Were you given any verbal or written warnings, or a description of risks regarding the
implantation of the Device? Yes No I don’t recall

a.

b.

 

If Yes, when did you receive the information?

Who gave you the information?

 

Do you have the written information in your possession? If so, please
produce a copy of it together with your answers to the Plaintiff Fact
Sheet. Yes No I don’t know

Describe the oral warnings or description of the risks you received to the
best of your ability. If the written information is no longer in your
possession, describe the information to the best of your ability:

 

 

 

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Have you had any communications with any present or former employee of Wright
Medical Technology, Inc., MicroPort Orthopedics Inc., or any distributor or sales
representative associated with those entities concerning the Device or matters in any way
related to this lawsuit? Yes No

If Yes, for each, provide the following information:

 

Date of Name of Person with} Mode of Communication | Do you have a writing or
Communication Whom You (In Person, By Phone, By recording? (IF SO,
Communicated Email, By Mail) PLEASE ATTACH)

 

 

 

 

 

 

 

 

If the communication was by phone or in-person, describe what was said to the best of
your recollection:

 

 

 

VII. INJURIES & DAMAGES
Are you claiming any physical injuries or illness as a result of the Device?
Yes No

If Yes, please describe in detail the following:

a. The physical injuries or illness claimed and when the symptoms began:

 

 

 

 

 

 

 

 

 

 

 

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b. Are those injuries or illnesses continuing? Yes No
C. Have you ever been hospitalized as a result of any of these conditions?
Yes No

If Yes, please provide the following information:

i. Approximate date(s) of hospital admission:

 

ii. Approximate date(s) of discharge:

 

iii. Hospital names(s) and address(es):

 

Are you making a claim for lost wages or lost earning capacity?

Yes No

a. If Yes, describe your claim and attach your W-2 forms for (5) years before the
revision surgery to present. Your description should include the total amount of
time (and amount of income) which you claim to have lost or will lose from work
as a result of any condition which you claim or believe was caused by the Device,
and an explanation of how those amounts were calculated:

 

 

 

 

b. If you claim a loss of earnings, state your earned income from work for the five
years before the revision surgery to present:

YEAR INCOME

 

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IX. MEDICAL AND OUT-OF-POCKET EXPENSES

1. State the amount of medical expenses, by provider, that you have incurred, including
amounts billed to insurers and other third party payors, which are related to any condition
which you claim or believe was caused by the Device for which you seek recovery in this
action:

 

Name and Address of Provider Dates of Treatment Amount of Medical
Expenses

 

 

 

 

 

 

 

 

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For any expenses claimed above, have they been reimbursed by any third party?

Yes No

If Yes, identify which expenses, the amount reimbursed, the date reimbursed, and the
third party that reimbursed the expense(s).

 

 

XII. DOCUMENT DEMANDS

These document requests are not intended to seek attorney client communications or attorney
work product materials. In addition, these requests do not encompass or seek information about
expert witnesses or communications with and/or from experts or proposed trial exhibits or trial
materials that may be subject to disclosure at a later date in accordance with subsequent Court
Order or rule. If you have any of the following in your possession which is not protected as set
forth above, provide a copy of it with this Plaintiff Fact Sheet.

REQUEST NO.1: All medical records from any physician, hospital, or health care
provider who has treated you for any injury, illness, and/or disease identified in response to this

Plaintiff Fact Sheet. This specifically includes, but is not limited to, records showing

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manufacturer stickers and any other records showing all devices implanted during a revision
surgery.

REQUESTNO,2: All radiographs (x-rays, ultrasounds, MRIs, CT scans) that relate to
the condition and injuries alleged in plaintiff's complaint, show any portion of plaintiff's hip,
and/or depict the Device.

REQUEST NO, 3: All laboratory reports and results of blood tests performed on
plaintiff that show the level of cobalt or chromium ion levels in the blood.

REQUEST NO. 4: All medical bills for which plaintiff seeks recovery in this lawsuit,
as well as all documents relating to third-party payments of medical bills related to plaintiff's hip
surgeries.

REQUEST NO,5: All records of any other expenses allegedly incurred as a result of
the injuries alleged in the complaint.

REQUEST NO.6: All photographs and videos of plaintiff's hip surgeries and all
photographs and videos of plaintiff which show plaintiff's condition since the date of the original
Device implantation.

REQUEST.NO.7: Any documents received by you from surgeons, physicians, or
other health care professionals who have treated you for any condition related to the Device,
including but not limited to literature or warnings.

REQUEST NO.8: Any documents including diaries, journals, calendars, emails, texts,
or other notes prepared by plaintiff or plaintiffs representative, other than plaintiffs attorneys,
concerning Defendants or concerning the incident, your alleged injuries, or the limitations you

claim to have experienced following your hip surgeries.

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REOUESTNO,9: All materials you received before the Device was implanted in you
concerning the nature of the Device, whether created by Defendants, your health care provider,
or any other third party.

REQUEST NO,10: If applicable, the decedent’s death certificate, letter of
administration, and/or autopsy report.

REQUEST NO. 11: If applicable, all bankruptcy petitions and orders of discharge for

all bankruptcy claims made by you or your spouse since the date of your first hip surgery.

XII. AUTHORIZATIONS

I agree that I will provide an executed general authorization for the release of applicable medical
records within fourteen (14) days of any request for the same, and further agree to cooperate to
provide any authorizations necessary for the collection of applicable medical, insurance,
employment, or other records as it pertains to discovery of my claims in this MDL proceeding.

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

 

 

 

 

 

CENTRAL DIVISION
)
) MDL No. 2949
IN RE: PROFEMUR HIP IMPLANT ) 4:20-MD-2999-KGB
)
PRODUCTS LIABILITY ) DEFENDANT FACT SHEET
LITIGATION )
) ALL CASES
Defendant (“Defendant,” “You” or “Your’”)

 

hereby submits the following Defendant Fact Sheet responses and related Documents in the
below reference individual case.

INSTRUCTIONS

Provide the following information for Plaintiff (or Plaintiff's decedent) (hereinafter
“Plaintiff’) who was implanted with a Profemur Hip Implant System or any components thereof
(hereinafter “Device”) that is the subject of Plaintiff's complaint in this action. In filling out any
section or sub-section of this form, please submit additional sheets as necessary to provide
complete information.

In filling out this form, please respond on the basis of information and/or documents that
are reasonably available to Defendant.

“Healthcare Providers”: Shall be defined as all Persons identified in Section II of the Plaintiff
Fact Sheet submitted by Plaintiff who performed implantation or revision surgery to implant or
explant Plaintiff's Device.

In completing this Defendant Fact Sheet, You are under oath and must provide
information that is true and correct to the best of Your knowledge, information and belief. The
responses you provide in response to this Defendant Fact Sheet constitute discovery responses
subject to the Federal Rules of Civil Procedure. If the response to any of the following is that
You do not know the information requested or that documents are not reasonably available, that
response should be entered in the appropriate location(s).

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EXHIBIT
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CASE AND RESPONSE INFORMATION
1. This Defendant Fact Sheet pertains to the following case:

Case Caption:
Case Action No.:

 

 

DEVICE MANUFACTURE INFORMATION

l. For each Device identified by Plaintiff in response to Section II of the Plaintiff
Fact Sheet (hereinafter “PFS”) submitted by Plaintiff, provide the Device History
Record for the Device.

2. For each Device identified by Plaintiff in response to Section II of the
PFS submitted by Plaintiff, please provide the following:

a. A copy of the complaint file(s), including medical records, if any, for the
Plaintiff.

b. If not contained in the complaint file, any non-privileged report
concerning any investigation or analysis performed of Plaintiff's retrieved
Device.

PRODUCT/ MARKETING/ SALES REPRESENTATIVE AND MANAGER
INFORMATION

1. Provide the name and business address of the sales representative assigned to the
implanting surgeon, area or hospital at the time of Plaintiffs index surgery.

 

 

 

2. Provide the name and business address of the sales representative assigned to the
revision surgeon, area or hospital at the time of Plaintiffs revision surgery.

 

 

 

3. Produce the invoice for each Device identified in response to Section II of the PFS.
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4. To the extent that any of Your components were implanted as part of a Plaintiff's
revision surgery or any surgery performed on Plaintiff's hip subsequent to Plaintiff's
index surgery, produce the invoice for each such Device.

COMMUNICATIONS _AND RELATIONSHIPS WITH PLAINTIFFS’
HEALTHCARE PROVIDERS AND PLAINTIFF

1. Produce Communications between Defendant and Plaintiffs Healthcare Providers
relating to Plaintiff's Index surgery and/or Revision surgery, to the extent any exist.

2. Produce any Dear Doctor letters provided to Plaintiff's Healthcare Provider(s) by
Defendant concerning the Profemur Hip Device at issue.

3. To the extent not already provided in response to another DFS, produce consulting
agreements, if any, between Defendant and any of Plaintiff's Healthcare Providers,
relating to consulting relationships to provide advice on the design, study, testing or
use of hip replacement systems.

ADVERSE EVENT REPORTS

1. Provide the identification number for any Medwatch Manufacturer Report(s) for
each Device identified in response to Section II of the PFS.

2. To the extent not provided in response to any of the above, provide any
MEDWATCH Forms [3500A Facsimile] and all attachments thereto relating to
the reported revision of each Device identified in response to Section II of the
PFS.

 
